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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

GOSECURE INC.,
Plaintiff,
Civil Case No. 1:21-cv-01222

BHANDARI.

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Defendant.

ORDER

THIS MATTER comes before the Court on Plaintiff’s and
Defendant's cross-motions for summary judgment.

It appearing to the Court that Plaintiff is entitled to
summary judgment, it is hereby

ORDERED that the case be removed from the trial docket. An

accompanying order and memorandum opinion will be forthcoming.

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
September b , 2022
